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                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF KANSAS

     CHERI WILLARD,

              Plaintiff,

              v.                                            Case No. 2:21-cv-2538-HLT-GEB

     ALEJANDRO MAYORKAS, in his capacity as
     Secretary of the Department of Homeland
     Security,

              Defendant.


                                              ORDER

         Plaintiff filed this case on November 21, 2021. Doc. 1. She alleges Defendant discriminated

 against her because of her age, sex, and disability and retaliated against her because she engaged

 in protected activity. Defendant moved to dismiss her claims. Doc. 8. Plaintiff failed to respond to

 Defendant’s motion, so the Court issued a show cause order directing her to explain why she failed

 to timely respond and to file a response. Doc. 11 at 1. Plaintiff filed both. Docs. 12 and 13. And

 Defendant replied to the motion. Doc. 14.

         Because Plaintiff’s failure to timely respond to the motion to dismiss stems from a lack of

 diligence rather than excusable neglect, the Court deems her response untimely and takes up

 Defendant’s motion without the benefit of it. D. Kan. Rule 7.4(b). The Court finds after review of

 the motion that Plaintiff fails to plausibly allege her claims, so the Court dismisses her claims

 under Rule 12(b)(6).

I.       SHOW CAUSE ORDER

         Defendant filed the motion to dismiss on March 23, 2022. Doc. 8. Plaintiff’s response was

due on April 13, 2022. She did not timely respond, so the Court thus entered a show cause order

about a week later. The Court noted that Plaintiff is represented by counsel and that counsel had
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been warned in other cases about failing to timely respond to motions. The Court then directed

Plaintiff to do the following on or before April 27, 2022: (1) explain, in writing, why Plaintiff failed

to timely respond to Defendant’s motion to dismiss; and (2) file a response to Defendant’s motion

to dismiss. Doc. 11 at 1. Plaintiff timely responded to the show cause order and filed an opposition

to the motion. Docs. 12-13. The Court now determines whether Plaintiff has shown cause for failing

to timely respond to Defendant’s motion.

        D. Kan. Rule 7.4(b) states that a party or attorney who does not timely respond to a motion

waives the right to later do so absent a showing of excusable neglect. See also Fed. R. Civ.

P. 6(b)(1)(B). Excusable neglect is a “somewhat elastic concept and is not limited strictly to

omissions caused by circumstances beyond the control of the movant.” Pioneer Inv. Servs. Co. v.

Brunswick Assocs. L.P., 507 U.S. 380, 392 (1993). The determination is ultimately an equitable

one that requires a court to consider all relevant circumstances including (1) the danger of prejudice

to the nonmoving party, (2) the length of delay and its potential impact, (3) the reason for the delay,

and (4) whether the movant acted in good faith. Id. The Tenth Circuit has noted that fault in the

delay is “a very important factor—perhaps the most important single factor—in determining

whether neglect is excusable.” Biodiversity Conservation All. v. Bureau of Land Mgmt., 438 F.

App’x 669, 673 (10th Cir. 2011) (unpublished).

        The first, second, and fourth factors weigh in favor of a finding of excusable neglect. There

is no apparent danger of prejudice to Defendant by the relatively short delay, and there is no

indication that Plaintiff or Plaintiff’s counsel acted in bad faith. But the third factor necessitates a

conclusion that excusable neglect does not exist.

        Plaintiff’s counsel explains that she did not timely respond to the motion or seek an

extension because “she did not receive the emails from the court indicating that [Defendant’s




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motion to dismiss] had been filed and the response date was therefore not calendared.” Doc. 13 at

2. She also notes that she “has had an ongoing issue with the server system in her office whereby

emails are not timely received.” Id. at 1. Counsel then explains that she has purchased an “entirely

new server and system,” but the new server “is not completely functional.” Id. So her staff “is now

assigned to physically go online one time per week and check that no new pleadings have been

filed in each case that is on file with any court.” Id.

        Plaintiff’s counsel’s failure to check the docket and keep apprised of this case despite

knowing about ongoing server issues is neglect that is not excusable. Plaintiff’s counsel has been

struggling with server issues since at least 2019. See K.D. v. St. Joseph Sch. Dist., No. 5:18-cv-

6113, Doc. 49 (W.D. Mo. 2019) (explaining that she failed to meet certain deadlines and outlining

server issues). Her instant response again identifies an “ongoing issue with the server system in

her office.” It is unclear whether the same server issue persisted or a new one occurred, but

Plaintiff’s counsel knew that she was not timely receiving emails. And despite this knowledge she

did not check the docket in this case for about one month (i.e., between March 23 and April 20)

even though she knew Defendant would be responding to the complaint.

        Plaintiff’s counsel has an obligation to monitor the court’s docket. See Brown v. Zarek,

1998 WL 738340, at *1 (10th Cir. 1998) (“It is the litigant’s affirmative duty to monitor the court’s

docket.”). Counsel knew that she was not timely receiving emails yet did not find another way to

stay informed about the case or access the electronic docket, which she could readily do. Her

failure to timely respond to the motion thus stems from a lack of diligence and not excusable

neglect. Biodiversity Conservation, 438 F. App’x at 673; Yeschick v. Mineta, 675 F.3d 622, 629-

31 (6th Cir. 2012) (finding no abuse of discretion and noting that “we emphasize that regardless

of whether email notifications are received, parties continue to have a duty to monitor the court’s




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docket”); Robinson v. Wix Filtration Corp., 599 F.3d 403, 413 (4th Cir. 2010) (same); D. Kan.

Civ. Admin. P. § II(H)(1), https://ksd.uscourts.gov/index.php/rules/ (“Problems on the filer’s end,

such as connection problems, problems with the filer’s Internet Service Provider (ISP), or

hardware/software problems, will not constitute a technical failure under these procedures nor

excuse an untimely filing”).

           The Court realizes this outcome might seem unforgiving. But the neglect in this case is not

excusable particularly given that counsel knew Defendant would be responding to the complaint,

knew that she had ongoing server issues, and did nothing for about a month to stay informed of

the docket. The Court thus takes up the motion to dismiss without the benefit of Plaintiff’s

response1 and considers the merits of the motion. See Neighbors v. Lawrence Police Dep’t, 2016

WL 3685355, at *1 (D. Kan. 2016) (analyzing the merits of a motion to which the plaintiff failed

to respond).

II.        MOTION TO DISMISS

           Plaintiff alleges that she is a disabled Caucasian female over the age of 40 who has engaged

in prior protected activity including raising concerns about racism in the processing of applications

by individuals seeking to gain admission to the United States. Doc. 1 at 3. Defendant terminated

Plaintiff’s employment on April 1, 2021. Id. at 6. Plaintiff now brings disparate treatment, hostile

work environment, and retaliation claims under Title VII and a due process/impairment of contract

claim under § 1983.

           Defendant moves to dismiss Plaintiff’s complaint for failure to state a claim under Rule

12(b)(6) for multiple reasons. A complaint survives a Rule 12(b)(6) challenge when it contains


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      The Court notes however that the outcome of Defendant’s motion does not change even when Plaintiff’s response
      is considered. The complaint still fails to state a plausible claim even when the response is considered. Plaintiff’s
      arguments do not overcome the deficiencies identified in the motion and do not demonstrate that she alleges a
      plausible claim.




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“sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544,

570 (2007)). A court will accept as true all well-pleaded allegations in the complaint but need not

accept legal conclusions. Id. And conclusory statements are not entitled to the presumption of

truth. Id. at 679.

        First, Defendant contends that Plaintiff’s claims stemming from her termination are

untimely and must be dismissed. The Court agrees based on the instant record. Plaintiff was a

federal employee who had her employment terminated. Plaintiff alleges that she filed an

administrative complaint and that the agency issued a final decision in August 2021. Doc. 1 ¶¶ 10-

11. Plaintiff then filed this lawsuit about two months later. Doc. 1.

        The problem is that Plaintiff had to file claims stemming from her termination within 30

days of receipt of a final decision. The Civil Service Reform Act of 1978 provides gradual

protections for evaluating personnel actions against federal employees. Pub L. No. 95-454, 92 Stat.

1111 (codified as amended in scattered sections of 5 U.S.C.). If the personnel action is particularly

serious (e.g., termination), the employee has a right to appeal the agency’s decision to the Merit

Systems Protection Board (“MSPB”). “When an employee complains of a personnel action serious

enough to appeal to the MSPB and alleges that the action was based on discrimination, [the

employee] is said (by pertinent regulation) to have brought a ‘mixed case.’” Kloeckner v. Solis,

568 U.S. 41, 44 (2012) (emphasis denoted in original by italics).

        Here, Plaintiff had a mixed case because she complained about her termination, which is a

personnel action serious enough to appeal to the MSPB, and alleged that her termination was based

on discrimination and retaliation. See generally Doc. 1; see also Doc. 1 at ¶ 12 (alleging that all

claims in her complaint were considered during the administrative investigations). A federal




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employee bringing a mixed case may proceed in a variety of ways. Relevant here, the federal

employee with a mixed case may:

                   [F]irst file a discrimination complaint with the agency itself, much
                   as an employee challenging a personnel practice not appealable to
                   the MSPB could do. If the agency decides against her, the employee
                   may then either take the matter to the MSPB or bypass further
                   administrative review by suing the agency in district court.

Kloeckner, 568 U.S. at 45 (internal citations omitted). Plaintiff alleges that the agency decided

against her. Under the regulations, Plaintiff had thirty days from receipt of the agency’s decision

to file in district court. See 29 C.F.R § 1614.310 (stating thirty-day deadline); 29 C.F.R.

§ 1614.302. She did not. Instead, she filed her complaint nearly two months later. Because Plaintiff

failed to timely file her termination claims in district court, and this failure is evident from the face

of her complaint based on her own allegations, the Court dismisses her claims stemming from her

termination. See Bobelu-Boone v. Wilkie, 526 F. Supp. 3d 971, 980 (D.N.M. 2021) (dismissing

mixed case termination claim as untimely).2

         Second, Defendant argues that Plaintiff has not plausibly alleged a disparate treatment

claim (Count I). The Court again agrees. Plaintiff generally alleges that “Agency and Management

Officials treated similarly situated non-disabled male employees over the age of 40 more favorably



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    The Court does not consider Plaintiff’s response for the reasons stated above. But, even if it did, Plaintiff’s response
    does not change the outcome on this issue. Plaintiff alleges in the complaint that she timely filed this lawsuit within
    90 days of the receipt of the Final Agency Decision. Doc. 1 at 2. Under 29 C.F.R. § 1614.407(a), an individual
    who files claims for individual relief under Title VII may file a civil action in federal district court “[w]ithin 90
    days of receipt of the agency final action.” “However, the 90-day period applies to a non-mixed case claim only,
    in which case a federal employee can proceed by initially filing a claim with the EEO department of the employing
    agency.” Bobelu-Boone, 526 F. Supp. 3d at 979 (citing Kloeckner, 568 U.S. at 47). Indeed, the Final Agency
    Decision, which the Court did not consider and merely cites to address Plaintiff’s confusion, explains that two
    separate notices are attached regarding Plaintiff’s appeal rights. Doc. 9-1 at 24. The first notice contains
    information for appealing claims 8-16 and 18. It provides that Plaintiff can appeal these claims to the EEOC within
    30 days or file a civil action within 90 days. Id. at 25-26. The second notice contains information for appealing
    claim 17 (the wrongful termination claim). It provides that Plaintiff must appeal claim 17 to the MSPB or file a
    civil action within 30 days. Id. at 33; see also 29 C.F.R. § 1614.310.




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than [her].” Doc. 1 at 10.3 But Plaintiff’s assertion that she is “similarly situated” to other

employees is just a legal conclusion, which is not enough to survive a Rule 12(b)(6) challenge. See

Hwang v. Kan. State Univ., 753 F.3d 1159, 1164 (10th Cir. 2014). A plaintiff must allege “some

set of facts” that “taken together plausibly suggest differential treatment of similarly situated

employees.” Id.

         And here, Plaintiff alleges no facts about similarly situated employees. She does not

identify any non-disabled male employees over the age of 40 who had the same supervisor, who

committed the same conduct, or who had a similar employment history. And she has no well

pleaded facts explaining how such employees were treated more favorably than her. See id.

(affirming dismissal of complaint where the plaintiff “has pleaded no facts about the non-disabled

University employees who receive sabbaticals, let alone facts suggesting they are like her in any

relevant way”). Thus, the Court dismisses Plaintiff’s disparate treatment claim for failure to state

a claim.

         Third, Defendant argues that Plaintiff has not stated a plausible claim for hostile work

environment (Count II). The Court agrees. The complaint generally alleges that Plaintiff was

subjected to ridicule, increased scrutiny of her work, insults (e.g., “you aren’t that smart”), and

micromanagement. But this conduct is merely offensive and does not violate Title VII. Bryant v.

Neb. Furniture Mart, 2021 WL 259294, at *8 (D. Kan. 2021). Rather, Title VII only prohibits

conduct that is “severe or pervasive enough to create an objectively hostile or abusive work

environment—an environment that a reasonable person would find hostile or abusive.” Id.; see

also Payan v. United Parcel Serv., 905 F.3d 1162, 1170-71 (10th Cir. 2018) (“[R]un-of-the-mill

boorish, juvenile, or annoying behavior that is not uncommon in American workplaces is not the


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    The Court also notes that Plaintiff never alleges her disability.




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stuff of a Title VII hostile work environment claim.”). The allegations in the complaint do not

come close to meeting this standard.

       Moreover, the complaint fails to establish that the alleged conduct was due to her disability

(which is never identified), sex, age, or prior protected activity. See Payan, 905 F.3d at 1170

(stating that the plaintiff must show that they were targeted for harassment because of their

protected status); see also Bekkem v. Wilkie, 915 F.3d 1258, 1274-75 (10th Cir. 2019) (affirming

dismissal of discrimination claim based on conclusory assertion that a reprimand was issued

because the plaintiff was “female, from India, brown, Asian-Indian, and/or of the Hindu religion”).

There are no facts plausibly suggesting a causal connection. Plaintiff’s “lack of any details . . .

makes it impossible to parse out her numerous theories of discrimination.” Bekkem, 915 at 1275.

Thus, the Court dismisses Plaintiff’s disparate treatment claim for failure to state a claim.

       Fourth, Defendant argues that Plaintiff has not stated a plausible claim for retaliation

(Count III). The Court agrees. The elements of prima facie retaliation claim include: “(1) that she

engaged in protected opposition to discrimination, (2) that a reasonable employee would have

found the challenged action materially adverse, and (3) that a causal connection existed between

the protected activity and the material adverse action.” Id. at 1267.

       There are four possible instances of protected activity: (1) Plaintiff raising concerns about

racism in the processing of applications by individuals seeking to gain admission to the United

States, (2) Plaintiff’s EEO informal counseling in September 2021, (3) Plaintiff’s first formal

complaint, and (4) Plaintiff’s second formal complaint. Doc. 1 ¶¶ 14, 17-18, 67. The Court

considers each.

       The first instance of protected activity fails to allege a plausible retaliation claim because

Plaintiff never identifies to whom she complained, when she complained, and how that complaint




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is causally connected to any allegedly adverse action. See Armour v. Universal Protection Servs.,

724 F. App’x 663, 665 (10th Cir. 2018) (affirming dismissal of retaliation claim when plaintiff did

not plausibly allege any facts that the defendant retaliated against her for engaging in a protected

activity).

        The second instance is equally flawed because her EEO informal counseling occurred in

September 2021, which was several months after she was terminated. Principles of linear time

preclude this retaliation claim. An action in the past can’t be caused by an action that has not yet

occurred. Stated differently, Plaintiff cannot be retaliated against for protected activity that had not

yet occurred.

        The third and fourth instances do plausibly allege protected activity. But Plaintiff then fails

to plausibly allege the remaining elements of a prima facie case based on these protected activities.

More specifically, Plaintiff filed her first formal complaint in June 2019 and outlined multiple

grievances. Because these grievances occurred before she had engaged in any protected activity,

these grievances can’t be an adverse action stemming from protected activity. See Doc. 1 ¶ 18(a)-

(g). Again, principles of linear time preclude it.

        Thus, the Court is left to determine whether any action occurring after June 2019

constitutes an adverse action that is causally connected to her protected activities. Plaintiff initially

fails to plausibly allege any adverse action. Her termination would be an adverse action, but she

did not timely file in the district court as explained above. See Godoy-Guzman v. Unified Gov’t of

Wyandotte Cnty., 2019 WL 6894529, at *8 (D. Kan. 2019) (holding that retaliatory acts that were

not timely brought cannot serve as a basis for retaliation claim). And the other grievances she

identifies simply aren’t enough.




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       For example, Plaintiff contends that she was given counseling, had her work reviewed, and

had meetings interrupted. But these are not materially adverse. See, e.g., Keller v. Crown Cork &

Seal USA, Inc., 491 F. App’x 908, 914 (10th Cir. 2012) (finding general complaints “about strict

application of policies, increased supervision, write-ups, means and methods of communication

with her supervisors, and restrictions on her employment relationships . . . are in the nature of

ordinary workplace tribulations; they do not rise to materially adverse actions sufficient to support

a claim of retaliation”). She also contends she was denied a lumbar support. But this isn’t enough

either. See Sanders, 2012 WL 5985469, at *7 (holding that the denial of a request to use a heating

pad was not a significant change to the plaintiff’s employment). And her allegations about others

undermining her work are too vague.

       Plaintiff does allege that she was placed on a Performance Improvement Plan (“PIP”) and

failed her PIP. Placement on a PIP may constitute an adverse action if it immediately affects the

individual’s employment status. See Haynes v. Level 3 Commc’ns, LLC, 456 F.3d 1215, 1224-25

(10th Cir. 2006) (holding that PIP was not materially adverse because it did not have an immediate

effect on the plaintiff’s employment status). But here Plaintiff does not allege such facts. She does

not allege that the PIP immediately affected her employment status by demoting her, reducing her

pay, or altering her benefits.

       Even if Plaintiff had alleged an adverse employment action sufficient to support her

retaliation claim, she still fails to plausibly allege a causal connection between it and her protected

activity. She does not allege who knew about her formal complaints, when those people learned

of her formal complaints, or how those people were involved in any of her grievances. This is

particularly problematic given her allegations about a change in supervisor and the continuation

of work reviews.




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         Plaintiff thus fails to plausibly allege a retaliation claim, so it is dismissed.

         Fifth, Defendant argues that Plaintiff’s § 1983 due process claim (Count IV) fails to state

a claim because § 1983 is not applicable to the federal government. The Court agrees. Section

1983 is not applicable to the federal government, and it does not waive the government’s sovereign

immunity. Belhomme v. Widnall, 127 F.3d 1214, 1217 (10th Cir. 1997) (noting that the plaintiff’s

§ 1983 claim “fails as a matter of law because this section applies to actions by state and local

entities, not to the federal government”); Farr v. U.S. Gov’t, 2022 WL 124032, at *3 (D. Kan.

2022). Accordingly, the Court dismisses this claim.

III.     CONCLUSION

         Plaintiff’s complaint suffers from numerous deficiencies and generally recites run-of-the-

mill workplace grievances untied to any unlawful act. Plaintiff never amended as of right or

formally moved for leave to amend. The Court finds that she failed to plausibly allege her claims

and dismisses them.4

         THE COURT THEREFORE ORDERS that Plaintiff’s opposition is untimely and is not

considered.

         THE COURT FURTHER ORDERS that Defendant’s motion to dismiss (Doc. 8) is

GRANTED. Plaintiff’s claims are dismissed. This case is closed.

         IT IS SO ORDERED.

         Dated: July 19, 2022                                  /s/ Holly L. Teeter
                                                               HOLLY L. TEETER
                                                               UNITED STATES DISTRICT JUDGE


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    As repeatedly noted, the Court did not consider Plaintiff’s opposition or anything beyond the four corners of the
    complaint. But even if the Court considered her opposition, it does not change the outcome. She fails to plausibly
    allege her claims even when her arguments are considered, and her passing and unspecific request for leave to
    amend does not comply with the local rules, identify the content she would add, or otherwise convince the Court
    she could overcome these deficiencies. Thus, even considering the opposition, the Court would dismiss these
    claims.




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